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        FINAL CONTINUOUS QUALITY
           IMPROVEMENT PLAN
                                 11/15/2018




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                                          Introduction
Continuous Quality Improvement(CQI) was formalized during the inception ofthe 1St Olivia Y.
Settlement agreement, Olivia Y v. Barbour Modified Settlement Agreement, and in response to
the standards ofthe Council on Accreditation(COA). The agency began implementing CQI
activities to identify strengths as well as areas needing improvement in case practice. These
activities were developed to monitor and inform practice in such a way as to lead to timely
services to clients, improved outcomes for Mississippi families and to infolin agency leadership
and stakeholders ofthe well-being ofthe agency. Today,the Mississippi Department of Child
Protection Services Continuous Quality Improvement activities have grown significantly from its
early roots, yet the mission remains the same: to see improved outcomes for Mississippi Families
who are involved with MDCPS.

                                            Section I
FoundationalAdministrative Structure

In July 2018,the Mississippi Department of Child Protection Services reorganized its agency
structure to create two parallel areas offocus and operation: Child Welfare and Child Safety.
Under the new organizational structure, the Deputy Director of Child Safety now directly
oversees the CQI program. This change has better aligned skills and resources to the work
required. What was previously known as the Foster Care.Review unit and the Evaluation and
Monitoring unit are now consolidated into the Quality Case Review unit. This arrangement
increases staff capacity to perfonn the functions of quality case reviews with consistency and
integrity ofthe process. In addition, the structure has created a larger pool ofreviewers under the
leadership of one director.

The Continuous Quality Improvement system within the Mississippi Depaitinent of Child
Protection Services seeks to be an institution oflearning that operates in a non-punitive manner
while monitoring and informing practice. This organizational structure offers a more diplomatic
approach to providing CQI activities throughout the agency. The CQI unit now benefits from
direct leadership of executive management who are always mindful of data trends and the need
for training or policy considerations as it relates to CQI findings. Although CQI is an identified
program unit, its activities and processes are intentionally embedded throughout the fabric ofthe
agency in collaboration with and,in some instances, led by other program units.




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                                           Section II
Purpose ofthe Continuous Quality ImprovementPlan

A CQI plan is an organization's roadmap for improving its services, processes, capacity and
outcomes. It guides the organization and its key collaborators and stakeholders through the
process of monitoring services and using data as part of everyday practice to improve outcomes.
A CQI plan allows the organization to describe its approach to CQI, assess its capacities to carry
out CQI,summarize past CQI efforts and identify lessons learned.

The vision ofthe Mississippi Department of Child Protection Services is that Mississippi's
children will grow up in strong families, safe from harm and supported through partnerships to
promote family stability and permanency. The MDCPS plan for Continuous Quality
Improvement is structured to carry out monitoring efforts that will inform the agency's staff,
leadership and stakeholders ofthe work being conducted in adherence to the Agency's vision.
Further, the organizational approach to implementing CQI processes is grounded in the agency's
mission to lead Mississippi's efforts in keeping children and youth safe and thriving by
strengthening families; preventing child abuse, neglect and exploitation; and, promoting child
and family well-being and permanent family connections.

The CQI plan is also designed to be responsive to the requirements ofthe 2nd MSA under
provisions 1.4.a. By December 1, of each year, MDCPS shall develop an annual Continuous
Quality Improvement Plan which shall be subject to the approval of the Court Monitor after
consultation with the lawsuit parties, 1.4.b. Upon approval, MDCPS will implement the CQI
Plan and will do so with sufficient staff and resources to assess compliance with those provisions
ofthe 2'd MSA that were identified for review in the Plan and 1.6.b. Data related to compliance
with the 2nd MSA's Foster Care Service Standards will be collected, analyzed, and made
available, at least quarterly, to MDCPS regional and county staff.

The CQI processes described in the plan will assess case practice, analyze outcomes, and
produce analyses that will be shared with executive leadership, managers and stakeholders to
achieve performance improvement at least quarterly (at the standing quarterly meetings) and
monthly whenever possible. The agency recognizes the need for opportunities outside ofthose
parameters for additional learning through other CQI processes. With that, this plan allows
flexibility for additional CQI processes to be conducted as agreed upon with agency leadership.

The general components ofthe plan,including the provisions, data collection, analysis, and
dissemination are described below.




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                                           Section III
Data Collection and Case Review processes

Because the practice of a large child welfare agency is, by nature, varied to accommodate the
individual needs ofthe families and children it serves, the monitoring efforts must be able to
accommodate this in a concise tool or set oftools to offer consistent and succinct feedback.
Below are the current and proposed monitoring processes, described in detail, that MDPCS is
undertaking It is noted in the plan that the CQI efforts are bifurcated into quantitative and
qualitative efforts.

Quantitative Data Collection Process:

For all provisions ofthe 2nd MSA that are quantitative in nature,the following processes are in
place for ensuring quality data are collected, analyzed, reported, and provided to staff and
executive leadership for decision making and development of appropriate policy and practice
enhancements.

The MDCPS Data Reporting Unit is tasked with providing case and child level data which are
collected and processed from an Electronic Data Warehouse(EDW- a replication ofthe SQL
database). Data are collected through use ofthe current agreed upon business rules approved by
the monitors to create quantitative data sets that track agency performance over time for select
2nd MSA provisions or to identify populations of children for qualitative case reviews for those
provisions that cannot be reported on solely using quantitative data. The business rules are
consistently updated to reflect current policy, training, and MACWIS updates; as approved by
the monitor.

The data for each provision are validated quarterly prior to the final quarterly report submission
to ensure the validity ofrecords selected for inclusion in each provision and data quality.
Additionally, there are automated processes in place to check for potentially discrepant records
and identify records for manual review. The data validation results are used to identify training
opportunities, MACWIS updates, or areas where business rules need to be reviewed.

Once quarterly validation has been completed, the data are consolidated and provided to
executive and regional leadership, court monitors and plaintiffs in aggregate and to program
units for qualitative reviews. Additionally, the court monitors conduct second-level verification
of all data provided. MDCPS is currently developing internal management reports to be available
to all staff on a monthly basis.




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Qualitative Case Review Processes:

For the identified provisions ofthe 2nd MSA that require a qualitative review, internal processes
within the various program units will assess those provisions through the case review processes
described below.

Child Safety and Maltreatment in Care

With child safety as the core focus ofthe agency, reviews specifically targeted at Maltreatment
in Care and overdue investigations are conducted by the MDCPS Safety Review Unit along with
the Data Reporting Unit. The Safety Review Unit conducts two reviews: 1) Screen-out Decision
Review and 2)Maltreatment in Care Investigations Quality Review. In addition, the Licensure
Unit conducts case file reviews for documentation verification.

The Safety Review Unit's(SRU)Maltreatment in Care Screen-Out process is a quality assurance
review process of all decisions to screen out(not investigate) a report of maltreatment of a child
in MDCPS custody. This review must be conducted within 24 hours of all screen-out
determinations. The screen out decisions are tracked through Smartsheet, and the process is
complete.

Ifthe SRU Reviewer determines that the screen-out was not appropriate, the SRU reviewer will
re-file the report by calling the Mississippi Centralized Intake to identify the second report as a
screening override. The report is then re-assigned for investigation, immediately, without the
option to not investigate (screen out). The SRU staff logs all report information received as a
result ofthe screen-out process through Smartsheet. The CQI director will disseminate this data
and findings to executive staff monthly.

The Safety Review Unit's Maltreatment in Care Review process is a quality assurance review
method for investigations into alleged maltreatment of children in foster care. Relative to
provision 2.7, within 30 days ofthe completion of any investigation of maltreatment of a child in
custody, SRU continues to conduct reviews ofthe maltreatment investigation. The SRU is
responsible for weekly verification of all completed MIC investigations to ensure timely reviews
are conducted. Data are extracted from the weekly run ofthe S1271 identifying MIC
investigations with a findings approval date. The SRU Supervisor is responsible for ensuring the
guidelines are followed as approved by the monitor and to ensure that the reports of
maltreatment in care are initiated and completed timely. When concerns arise, the SRU
supervisor submits corrective action notices to the appropriate level staffthrough use ofthe
Smartsheet system. The SRU supervisor monitors the status of all corrective actions and follows
up via email to the respective parties to ensure concerns are addressed.

The results ofthese reviews are used to guide further improvements in the investigation process
to assure the safety and well-being of children in MDCPS custody. The SRU supervisor analyzes



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the findings ofthe MIC reviews and compiles the results into a monthly report that is shared with
the monitor and disseminated to executive staff.

The Data Reporting Unit staff provides weekly monitoring of all investigations, noting those that
are overdue by county with regional summaries. These data are charted by region and county.
Data is further detailed by supervisor and worker of overdue investigations for the prior week if
opened more than 30 days. Data is charted to serve as a visual snapshot to alert regional
leadership that have current overdue investigations and compares the current week to the prior
week. The report is sent to the management staff and executive staff for review each week. The
reports, Excel file, and charts are located on IIReports/CQI_PAD/COA Weekly Comparison
Invest/Month folder name.

The MDCPS Licensure unit conducts a case file review for all Maltreatment in Care reports
conducted by SIU. The Licensure Unit is responsible for monthly verification regarding
appropriate filing ofthe approved investigative report, and any recommendations and/or
corrective actions deemed necessary from the investigation. The licensure staff currently
document findings using two spreadsheets (Licensure Investigations Report and Investigations of
ANE Foster Home Log) which are maintained within the unit. This information is gathered as
part ofthe licensure review process. The monthly report is submitted to the Office Director of
Licensure and is available to MDCPS leadership.

Family-Based Placements

Relative to provisions 3.1 and 3.2, the development ofFamily-based Placements are tracked and
monitored monthly by the MDCPS Licensure Unit and Quality Assurance Review Units.

Expedited Licensure Review

The MDCPS Resource Unit/Licensure is responsible for ensuring all foster homes and facilities
with children placed who are in the custody of MDCPS are timely licensed and subject to the
licensure process approved by the monitors. The Licensure Unit currently tracks all expedited
homes to ensure safety standards are met and homes are timely licensed. The current process is
tracked through use of a Smart Sheet tool. This tool captures specific information related to the
children placed,the assigned workers/ASWS in the COR and Licensure and any safety or non-
safety issues that arise during the licensure process. Weekly, the licensure staff assigned to
monitor these homes note any barriers to timely licensure ofthe home. This information is
disseminated to field operations and licensure staffto follow up on the relevant deficiencies.

Once a home is licensed, the Licensure ASWS notifies the COR worker and ASWS,RASWS,
RD,and OD that the home is licensed. Placement status will then be updated for the Relative
Resource home to ensure placements are accurate and so board payment can begin.



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For unlicensed placements that cannot meet the licensure standards, MDCPS licensure unit
addresses the concern with the COR. The county presents the matter to the respective Youth
Court notating specifically that the foster home has not or cannot meet licensing standards, the
reason why the home has not met standards and that a licensed home or facility is being
requested. The court ofjurisdiction will then decide whether the child will be removed. MDCPS
obtains a copy ofthe court order noting the status of placement and subsequently changes the
placement type to CO Non-licensed. This information is gathered as part ofthe expedited
licensure review process. The weekly report is sent to the Licensure ASWS and the COR ASWS
and is available to MDCPS leadership.

Expedited Quality Assurance Review:

MDCPS Quality Assurance Review staff is tasked with tracking and conducting quality review
of all expedited relative resource inquiries. All inquiries are reviewed using a quality assurance
tool developed through Smartsheet. Quality Review staff complete the reviews, and all ofthese
receive QA by the Quality Assurance Administrative team. The tool is available to the Licensure
Director for viewing of all data. Concerns that arise are submitted to the appropriate Licensure
Bureau Director for follow-up. The results ofthe quality review findings are made available to
management and executive staff monthly.

Placement Standards

Foster Home Development/Licensure:

Relative to provision 3.3, MDCPS continues to track and review this provision monthly through
quantitative and qualitative reviews. The Licensure Unit is responsible for monthly verification
of all newly licensed foster homes. Data is extracted from the Data Dashboard identifying
regular foster homes with an initial license approved during the prior month. The Licensure
Bureau directors are responsible for verifying all licensure guidelines are followed as approved
by the monitor and to ensure the correct foster home service types are selected for the families.
When discrepancies are found in the approval of a foster home or with the service types, the
home is either closed or a license change is completed to correct the discrepancy. The foster
home development tables are adjusted according to the discrepancy. The same process is carried
out for foster homes closed monthly with the exception of a quality review although the reasons
for closures are examined.

MDCPS submits to the monitor, field operations, and executive staff monthly the numbers of
newly licensed foster homes and foster homes closed for the previous month. For further
verification, MDCPS submits quarterly files to the monitor. These data are aggregated in a table
to show the outcomes by month, county/region, and statewide.




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 Placement Standards, Visitation and Child and Youth Permanency

 Quality Assurance/Foster Care Review:

MDCPS Quality Review unit provides ongoing monitoring relative to provisions offoster care
standards 4, 5, and 6 noted for review in this plan though Foster Care Reviews/County
Conferences. Foster Care Reviews/County Conferences are held at least every six months for all
children remaining in foster care six months or longer. The reviews are conducted by a Quality
Assurance Coordinator within the Quality Assurance Review Unit. The reviewer completes a
comprehensive review ofthe electronic file in MACWIS,prepares notes, conducts the county
conference(a roundtable style meeting with the caseworker, supervisor, parents, grandparents,
child, resource parents, GAL)to discuss what has been done and what needs to be done to
achieve permanency for the child. The documentation of what was discussed is captured in the
county conference section ofthe child's electronic file and additional questions are being
developed to append as a supplemental tool to collect data on specific provisions ofthe 2nd
MSA. The overall review findings and recommendations for follow up are submitted to the COR
supervisor for follow up within five days ofthe completion ofthe county conference.
Aggregated data can now be submitted to all management staff and executive stafffor review for
all children due for a review during the month.

Child and Youth Permanency

Adoption

Pursuant to provision 6.3.b.1, the Permanency Support Unit(PSU)verifies adoption specialist
have been assigned to children with a permanency plan of adoption through reports produced by
the Data Reporting Unit on a quarterly basis. Additionally, Adoption Status Meetings are held
monthly, once the permanency plan becomes adoption, until the child is adopted. Adoption
plans, timeframes, and barriers are addressed and documented at these meetings. On a quarterly
basis, the PSU will review random samples of documentation from Adoption Status Meetings.
Findings will be documented using the Permanency Support Unit spreadsheet and reviewed with
county adoption staff. The information related to adoption activities and tracking is provided
quarterly to MDCPS executive leadership, the monitors, and to MDCPS staff.

TPR Tracking and Monitoring:

Relative to provision 6.3.b.2, MDCPS Permanency Support Unit(PSU)tracks termination of
parental rights referrals made on behalf of children who have spent more than 17 ofthe past 22
months in foster care, unless an available exception pursuant to the federal Adoption and Safe
Families Act(ASFA)has been documented in the child's case record. The PSU receives a
quarterly report from the data reporting unit that details children in care with a plan of adoption
for whom referrals have been or need to be made. The PSU unit is responsible for verification of
all children with the plan of adoption having a referral made in a timely manner. The PSU holds

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 quarterly regional TPR calls to detennine the status of all children with the plan of adoption to
 ensure referrals are submitted timely and to identify any barriers to submission that should be
 addressed.

 The counties are responsible for submitting TPR packets to the Pei ianency Support Unit. All
 TPR packets are reviewed as they are received in the PSU and deficiency notices are sent to the
 respective county stafffor follow-up through the Footprints system. Each region has a designated
 TPR Specialist who is responsible for following all deficiencies through to completion. The TPR
 director is responsible for verifying that all children with a plan of adoption who have been in
 care more than 17 of the past 22 months have referrals made timely to the Attorney General's
 office. The information related to TPR tracking is provided quarterly to MDCPS executive
 leadership, the monitors, and to MDCPS staff

 Transition to Independent Living

 Youth Transition Support Services:

 The MDCPS Youth Transition Support Services unit conducts quarterly qualitative data reviews
 regarding MSA provisions 7.1-7.8k. Data relative to the population is requested from the data
 reporting unit and is extracted from MACWIS for the period under review and distributed to
 Transition Navigators(TN)based on their assigned regions. Each Transition Navigator conducts
 a MACWIS file/case record review for each child in the point-in-time period under review to
 assess the relative MSA provisions for 7.1-7.8k. The data is captured and tracked via spreadsheet
 by the TNs and emailed to the Director of Field Transition Support Services to review for data
 consistency and validation. After their review,the final reports are submitted to the Director of
 Youth Transition Support Services for a final review prior to submission to MDCPS leadership
 and the court monitor. In addition, all reviews are available for management and through
 Sharepoint.

 Additionally, in regard to data tracking and monitoring for provision 8.2 educational services, the
 MDCPS Youth Transition Support Services unit is developing educational regional review
 conference calls to ensure all school-aged youths' educational records are reviewed within 30
 calendar days oftheir entry into foster care. The review's purpose is to identify the child's
 general, and if applicable, special educational needs. The foiniat being discussed for the
 education review conference calls is that they will be held weekly with Education Liaisons
(EDL), MDCPS COR workers, ASWS and/or Regional ASWS who have the case of a school-
 aged child who entered foster care the prior week. Education Liaisons will use Smartsheet
 tracking to capture responses from the weekly calls and to document in MACWIS as an
 education contact narrative. Results from these reviews will be available to all staff and
 management monthly via the Youth Transition Support Services Share Point site.




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Child Well-Being

Therapeutic Services/Nursing:

Child Well-Being is tracked and monitored by the MDCPS Therapeutic Services Nursing unit.
The nursing staff has been assigned areas of the state to conduct monitoring of medical
screenings and assessments for children entering care as stipulated by the 2nd MSA provisions
8.1. The nursing staffis responsible for daily review ofthe custody child snapshot(Data
Dashboard)to determine children who have recently entered care to inform caseworker and
supervisory staff ofthe 72-hour and 30-day medical exam requirements. Staff identify the
children located in their assigned areas and review MACWIS to assess if any medical
information has been documented. Communications via email notifications are sent to the
worker, ASWS and RD reminding them ofthe dates the Well-Being Assessments are due.
Recommended follow up treatment documented by the caseworker in the initial or 30-day
medical can also be monitored and tracked by the nursing unit. A Smartsheet tool has been
developed for this tracking process that is further monitored by the Director of Field Support.
The Director of Field Support notifies the appropriate level county staff and Deputy Director if a
child has been in custody 15 days without a medical screening. A report is generated each month
on the 5th day ofthe following month from Smartsheet to determine the status of children that
entered custody during the month indicating if they have had their 72-hour medical screening
and comprehensive medical exams. Currently, this information is disseminated monthly by the
Director of Field Support to the Office Director ofPrevention and Therapeutic Services, the
Nursing Supervisor and Deputy Commissioner of Child Safety. Aggregated data can be made
available to all management staff and executive staff for review.

                                          Section IV
1.4 Continuous Quality Improvement

This section ofthe plan is responsive to the provisions of the 2nd MSA Foster Care Standards
that MDCPS has considered for review in the plan and provisions 1.4.a, 1.4.b., and 1.6.b. as cited
below:

1.4.a. By December 1st of each year, MDCPS shall develop an annual Continuous Quality
Improvement Plan, which shall be subject to the approval ofthe Monitor after consultation with
the parties.

1.4.b. Upon approval, MDCPS will implement the CQI Plan and will do so with sufficient staff
and resources to assess compliance with those provisions of the 2nd MSA that were identified for
review in the Plan. The reviews will assess case practice, analyze outcomes, and produce
analysis that will be shared with managers and stakeholders to achieve performance
improvement.

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1,6.b. Data related to compliance with the 2nd MSA's Foster Care Service Standards will be
collected, analyzed, and made available, at least quarterly, to MDCPS regional and county staff.

Section 2 Child Safety and Maltreatment in Care

The provisions noted below in this section will be monitored monthly using the safety review
unit review process described earlier in the plan

2.7 Within 30 days ofthe completion of any investigation of maltreatment of a child in custody,
as required in Section 2.1, MDCPS shall review the maltreatment investigation.

2.8 MDCPS shall assure that standardized decision-making criteria are used for prioritizing,
screening, and assessing all reports of maltreatment of children in MDCPS custody.

2.8.a. All investigations into reports of maltreatment of children in MDCPS custody must
be completed within 30 calendar days, including supervisory approval. MDCPS shall assure that
such investigations and decisions are based on a full and systematic evaluation ofthe factors that
may place a child in custody at risk.

The two provisions noted below in this section will be monitored monthly using the licensure
review process described earlier in the plan.

2.8.c. When a maltreatment investigation involves a foster or adoptive home, MDCPS shall file a
copy ofthe approved final investigative report, and any recommendations and/or corrective
actions MDCPS has deemed necessary,in the case record ofthe foster child, in the file ofthe
foster or adoptive parents with a copy ofthe letter of notification to the foster or adoptive
parents, and with the Bureau Director for Licensure. MDCPS shall also provide those records to
the Youth Court Judge with jurisdiction over the child and, upon request, to the Monitor.

2.8.d. When a maltreatment investigation involves an agency group home, emergency shelter,
private child placing agency foster home,or other facility licensed by MDCPS,a copy ofthe
final investigative report shall be filed in the child's case record, with the Director of Congregate
Care Licensure, and sent to the licensed provider facility. MDCPS shall provide the report to the
Youth Court Judge with jurisdiction over the child and, upon request, to the Monitor.

Section 3 Family-Based Placements

The provisions noted below in this section will be monitored monthly using the MDCPS
Licensure Unit and Quality Assurance Review Unit review processes described above.

3.1 All foster homes and facilities with children placed who are in the custody of MDCPS shall
be timely licensed and subject to the licensure process approved by Public Catalyst on December
31, 2016.

3.2 For Unlicensed Placements that Cannot Meet Licensure Standards


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  3.2.a. No child shall remain in a foster home or facility determined to be unable to meet
 MDCPS licensing standards, absent an order by a state court with jurisdiction over child custody
 directing the placement ofthe child into a specific unlicensed placement.

3.2.b. Safety Issues: If it is determined that an unlicensed foster home or facility is unable to
meet MDCPS licensing standards due to a safety issue, Defendants shall take all reasonable
efforts to immediately ensure the child's safety and to remove the child, including, if required by
the court, seeking an emergency court order

3.2.c. Non-safety Issues: If MDCPS determines an unlicensed foster home to be unable to meet
MDCPS licensing standards due to a non-safety issue, Defendants shall, within 30 calendar days
ofthat determination, either cure the licensing deficiency iffeasible, or move the child to a
licensed foster home or facility, or to an appropriate expedited relative placement, one time only.

Section 4PlacementStandards

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

4.2 Children with special needs shall be matched with placement resources that can meet their
therapeutic and medical needs.

4.3 Each foster child shall be placed in the least restrictive setting that meets his/her individual
needs as determined by a review of all intake, screening, assessment, and prior placement
information regarding the child available at the time of placement.

4.7 Defendants shall take all reasonable steps to avoid the disruption of an appropriate placement
and ensure placement stability for children. Ifthere is a documented indication that a placement
may disrupt, the caseworker shall immediately take steps to determine the following:

        4.7.a. The cause ofthe potential disruption;
        4. 7.b. Whether the placement is appropriate for the child;
        4.7.c. Whether additional services are necessary to support the placement;
        4.7.d. Whether the child needs another placement; and
        4.7.e. If another placement is necessary, what that placement should be.

4.10 No foster child shall be moved from his/her existing placement to another placement unless
MDCPS specifically documents in the child's case record justifications for that move and the
move is approved by an MDCPS supervisor.

Section 5 Visitation

The following provisions in this section ofthe 2nd MSA will be monitored using the foster care
review process as described earlier in the plan to assess the quality ofthe visits to the respective
parties as described.

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Worker Contact and Monitoring

5.1.a. MDCPS shall meet with the child in person at least twice monthly to assess the child's
safety and well-being, service delivery, and achievement of peimanency and other service goals.

5.1.c. MDCPS shall meet, at least monthly, with the child's parent(s) with whom the child is to
be reunified, ifthe child has a permanency goal of reunification, to discuss progress on the
family service plan and the child's well-being, unless the child's parent(s) reside out-of-state or
are incarcerated

5.1.d. MDCPS shall visit, at least monthly, with foster parents who have one or more foster
children residing in their home to assess the child's safety and well-being in the placement and
ensure appropriate services are provided.

Developing and Maintaining Connections

5.2.a. MDCPS shall arrange contact for the child with his/her parents and with any siblings not
in the same placement within 72 hours offoster care placement unless there are documented
reasons why contact should not occur. If a visit cannot be arranged within 72 hours, a telephone
call to parents, siblings, or extended family members shall be provided to the child.

5.2.b. For children entering foster care, a visitation plan for the child and his/her family shall be
developed as part ofthe Family Service Plan. The visitation plan shall be developed and
regularly updated in collaboration with parents, foster parents, and the child.

5.2.b.1. If parental visitation is appropriate, this visitation plan shall include a minimum oftwo
visits per month with the parents, unless the court order in the child's case limits such visits or
unless it is documented that a parent failed to make himself or herself available.

5.2.b.2. The child's visitation plan, regardless of permanency goal, shall include at least monthly
visits with any siblings not in the same placement.

5.2.b.3. As long as they are separated, all reasonable efforts shall be made to facilitate twice
monthly in-person visits for children six (6) years of age and younger with their siblings in
placement. All other children in placements separated from their siblings in placement, shall
have at least monthly visits among separated siblings. Siblings shall have interim contact by
alternative means such as email,texts, telephone calls, Facetime, and/or Skype (or exceptions
apply).

5.2.b.4. Exceptions to the sibling visitation requirement are:

       5.2.b.4.a. The child or sibling is placed out of state pursuant to ICPC;




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        5.2.b.4.b. The visit may be harmful to one or more ofthe siblings as determined by the
        court or documented in the record why the visit would be harmful to one or more ofthe
        children;

        5.2.b.4.c. One ofthe siblings is above the age of 14 and refuses such visits and the reason
        for such refusal is documented in the case record.

Section 6 Child and Youth Permanency

Comprehensive Family Service Plans

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

6.1.a. Within 45 days oftaking a child into custody, MDCPS shall complete a comprehensive
Family Service Plan which shall be developed in consultation with(1)the child and the MDCPS
caseworker;(2)the child's parents and the MDCPS caseworker; and(3)the foster care provider
and the MDCPS caseworker. The Family Service Plan shall address the strengths, needs and
services required for both the child and their parent(s); shall be reviewed and approved by the
supervisor and shall be maintained in the child's case file.

6.1.c. In those cases in which the whereabouts of one or both parents is unknown, MDCPS shall,
within 30 days, institute a diligent search for the parent(s), which shall be documented in the
child's case record.

6.1.d. Within 45 calendar days ofthe child's initial placement, MDCPS shall complete a
permanency plan that specifies the child's permanency goal, a timeframe for achieving
permanency, mid activities that support permanency

Concurrent Permanency Planning

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

6.2.a. For children with the goal of reunification, MDCPS shall begin, within the first six months
ofthe child's entry into care, to engage in concurrent pennanency planning.

Permanency Case Goals

6.3.a.1. When the child's permanency goal is reunification, MDCPS shall identify in the Family
Service Plan and make available, directly or through referral, those services MDCPS deems
necessary to address the behaviors or conditions resulting in the child's placement in foster care
and to help the parents develop strategies to facilitate permanency for the child. Caseworkers
will monitor the provision of services through visits and updating of service plans.


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6.3.a.2. For a child with a permanency goal of reunification, the child's MDCPS
caseworker shall meet with the child's parent(s) with whom the child is to be reunified at least
monthly to assess service delivery and achievement of service goals, to keep the family informed
and involved in decisions about the child, and to remain current about the family's
circumstances.
6.3.a.3. For children with a permanency goal of reunification, the case record shall
document opportunities provided to parents in support ofreunification.

6.3.a.4. When a recommendation to reunify a child with his/her family has been made, MDCPS
shall develop an after-care plan with the family that identifies the services necessary to ensure
that the conditions leading to the child's placement in foster care have been addressed, and that
the child's safety and stability will be assured. MDCPS shall take reasonable steps to provide or
facilitate access to services necessary to support the child during the trial home visit.

Adoption

The provision noted below in this section will be monitored monthly using the Permanency
Support Unit review process described earlier in the plan.

6.3.b.1. Children in custody with the primary permanency goal of adoption shall have an
assigned adoption specialist and an adoption plan that identifies the child specific activities that
MDCPS will undertake to achieve adoption and the timeframes in which the activities will be
undertaken.

The provision noted below in this section will be monitored quarterly using the Permanency
Support Unit TPR tracking review process described earlier in the plan

6.3.b.2. A termination of parental rights(TPR)referral shall be made on behalf of a child before
the child has spent more than 17 ofthe last 22 months in foster care unless an available exception
pursuant to the federal Adoption and Safe Families Act("ASFA")has been documented by
MDCPS in the child's case record. Subsequent to the initial ASFA exception, MDCPS may
continue the exception for only one additional six-month period unless continued invocation of
the exception is reviewed, approved and documented semi-annually by the RD assigned to the
county of responsibility for the child.

6.3.b.3. MDCPS shall provide to the Monitor a report of all TPR referrals made during the
monitoring period, the date those TPR referrals were made, and the date the TPR petition was
filed with the court.

Durable Legal Custody and Guardianship

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.


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6.3.d.1. The permanency goals of durable legal custody and guardianship may be assigned when
there are documented efforts in the child's case record to move the child to adoption and
documentation of a reasonable basis why it is in the child's best interests not to be considered for
adoption.

6.3.d.2. When the permanency goals of durable legal custody and guardianship are assigned to a
child under the age of 14 years old or living with a non-relative, MDCPS shall provide to the
Monitor at the end of each monitoring period,information from the child's case record
documenting efforts to move the child to adoption and documentation of a reasonable basis why
it is in the child's best interests not to be considered for adoption.

Another Permanent Planned Living Arrangement(APPLA)

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

6.3.e. If MDCPS concludes, after considering reunification, adoption, durable legal custody, and
permanent placement with a relative, that these peintanency plans are inappropriate or
unavailable for a child, MDCPS may assign a permanency goal of APPLA for the child. In such
circumstances,(1)the child must be at least 16 years old and (2) MDCPS must document a
compelling reason why this peiinanency goal is in the best interest ofthe child.

Permanency Reviews

The provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

6.4.a. A child's permanency plan shall be reviewed in a court or administrative case review at
least every six months. Foster care reviews shall satisfy this administrative case review
requirement. MDCPS will take all reasonable steps, including written notice, to ensure the
participation ofthe child, parents, caregivers, and relevant professionals in court or
administrative reviews.

6.4.b. MDCPS will take all reasonable steps to ensure that a court review, which may be called a
review, dispositional, or permanency hearing, is held for each child in foster care custody within
12 months of initial placement, and annually thereafter.

Section 7 Transition to Independent Living

The provisions noted below in this section will be monitored monthly using the MDCPS Youth
Transition Support Services monthly review process as described earlier in this plan.

7.1 MDCPS shall provide each youth transitioning to independence with at least six(6) months'
advance notice ofthe cessation of any health, financial, or other benefits that will occur at the
time oftransition.
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7.2 Each foster youth age 14 years and older, regardless of his/her permanency plan, shall be
provided with an opportunity to participate in the creation of an appropriate Independent Living
service plan for a successful transition to adulthood.

7.3 Each foster youth age 14 years and older shall have access to the range of supportive services
necessary to support their preparation for and successful transition to adulthood, including
Independent Living services eligible for federal reimbursement under the Chaffee program
which in part promote employment or remove barriers to employment and MDCPS shall
maintain sufficient resources to deliver Independent Living services to all youth described
herein.

7.8 MDCPS shall assist youth in obtaining or compiling the following documents and such
efforts shall be documented in the child's case record:

        7.8.a. Educational records, such as a high school diploma or general equivalency
        diploma, and a list ofschools attended, when age-appropriate.
        7.8.b. A social security or social insurance number;
        7.8.c. A resume, when work experience can be described;
        7.8.d. A driver's license, when the ability to drive is a goal; if not a driver's license, then a
        state-issued, photo identification;
        7.8.e. An original or certified copy ofthe youth's birth certificate;
        7.8.f. Previous placement information;
        7.8.g. Documentation ofimmigration, citizenship, or naturalization, when applicable;
        7.8.h. Documentation oftribal eligibility or membership;
        7.8.i. Death certificates when parents are deceased;
        7.8.1 A life book or a compilation of personal history and photographs, as appropriate;
        7.8.k. A list ofknown relatives, with relationships, addresses, telephone numbers, and
        permissions for contacting involved parties.

Section 8 Child Well-Being

Physical and Mental Health Care

The provisions noted below in this section will be monitored monthly using the MDCPS
Therapeutic Services/Nursing Unit Review process as described earlier in this plan.

8.1.a. Children entering foster care shall receive an initial medical screening within 72 hours of
entering foster care.

8.1.b. Children entering foster care shall receive an EPSDT or other comprehensive medical
exam within 30 days of entering foster care. If a child has received an EPSDT or other
comprehensive medical exam within 72 hours of entering foster care, it will count for both the
screening and comprehensive medical examination.




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8.1.c. Following an initial EPSDT or other comprehensive medical examination, children shall
receive periodic and on-going medical examinations according to the periodicity schedule set
forth by the EPSDT program.

8.1.d. Practitioner recommended follow-up treatment will be provided to children throughout the
time they are in foster care.

8.1.e. Children in foster care shall receive a dental examination within 90 calendar days offoster
care placement unless the child has had an examination within six months of placement, and
every six months thereafter if they are age four or older. Foster children who reach the age of
four while in foster care shall receive a dental examination within 90 calendar days of his/her
fourth birthday, and every six months thereafter. Every foster child shall receive all medically
necessary dental services.

The two provisions noted below in this section will be monitored monthly using the foster care
review process described earlier in the plan.

8.1f Within 15 days of placement, MDCPS shall provide the foster parents or facility staff with
the completed foster child information form or other electronic record containing available
medical, dental, educational and psychological information about the child.

8.1.g. By July 1, 2018,85% of children shall have their Medicaid infoiiiiation provided to foster
parents or facility staff at the time of placement.

Educational Services

The provisions noted below in this section are being piloted using the MDCPS Youth Transition
Support Services weekly educational regional review process as described earlier in this plan.

8.2.a. MDCPS shall review the educational record of each child who enters custody for the
purpose ofidentifying the child's general and,if applicable, special educational needs and shall
document the child's educational needs within 30 calendar days of his/her entry into foster care.

8.2.b. MDCPS shall take reasonable steps to ensure that school-age foster children are registered
for and attending accredited schools within seven(7)calendar days ofinitial placement or any
placement change, including while placed in shelters or other temporary placements.

8.2.c. MDCPS shall make all reasonable efforts to ensure the continuity of a child's educational
experience by keeping the child in a familiar or current school and neighborhood, when this is in
the child's best interests and feasible, and by limiting the number of school changes the child
experiences.

                                          Section V


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The overall goal ofthe Continuous Quality Improvement Unit is to support the facilitation of
best practices and effective services that produce positive outcomes for the children and families
served by the agency. The emphasis on being a non-punitive learning entity whereby reviews
routinely assess case practice, analyze outcomes, and produce analysis to be shared with
managers and stakeholders creates a collaborative approach to achieving sustainable
performance improvement. As an agency, MDCPS strives to ensure accurate data is collected but
understands there are, at times,inherent data errors based on the human factor or program
changes. MDCPS works to mitigate errors through validation efforts and address any system
issues identified in the process to reduce and eliminate future errors.

MDCPS seeks to implement the CQI Plan and will do so with sufficient staff and resources to
assess compliance with those provisions ofthe 2nd MSA that were identified for review in the
Plan by engaging various program units in the CQI process as described earlier in the plan.
MDCPS leadership supports CQI efforts to ensure quality improvement activities are consistent
with the agency's mission and are responsive to every day work flow management.




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                             2.7     Within 30 days ofthe completion of any investigation        Safety Review   MIC Review                           MIC Review 2019               Weekly    S21271 weekly/ MRIP4MMRR
                                     of maltreatment of a child in custody, as required in       Unit
                                     Section 2.1, MDCPS shall review the maltreatment
                                     investigation.
                             2.8.a                                                               Safety Review   MIC Review                           MIC Review 2019               Weekly    mic_investigation timeliness_currentcLcietails.cs
                                                                                                 Unit                                                                                         v, mic_investigation timeliness_msa_details.csv,
                                     All investigations into reports of maltreatment of                                                                                                       mic_investigation_timeliness statewide_summar
                                     children in MDCPS custody must be completed within                                                                                                       y.csv
                                     30 calendar days,including supervisory approval.
                                     MDCPS shall assure that such investigations and
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                                     decisions are based on a full and systematic evaluation
                                     of the factors that may place a child in custody at risk.
                             2.8.c                                                               Ucensure Unit   Licensure Review                      Foster Home Investigations   Monthly   SZ1271 weekly/ MRIP4MMRR
                                                                                                                                                      Log
                                     When a maltreatment investigation involves a foster or
                                     adoptive home, MDCPS shall file a copy ofthe
                                     approved final investigative report, and any
                                     recommendations and/or corrective actions MDCPS
                                     has deemed necessary, in the case record of the foster
                                     child, in the file ofthe foster or adoptive parents with a
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                                     copy ofthe letter of notification to the foster or
                                     adoptive parents, and with the Bureau Director for
                                     Licensure. MDCPS shall also provide those records to
                                     the Youth Court Judge with jurisdiction over the child
                                     and, upon request, to the Monitor.
                             2.8.d                                                              Licensure Unit   Licensure Review                     Licensure Investigation       Monthly   SZ1271 weekly/ MRIP4MMRR
                                     When a maltreatment investigation involves an agency                                                             Report_Congregate Care
                                     group home, emergency shelter, private child placing
                                     agency foster home, or other facility licensed by
                                     MDCPS, a copy ofthe final investigative report shall be
                                     filed in the child's case record, with the Director of
                                     Congregate Care Licensure, and sent to the licensed
                                     provider facility. MDCPS shall provide the report to the
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                                     Youth Court Judge with jurisdiction over the child and,
                                     upon request,to the Monitor.
                             3.1                                                                Licensure Unit   Licensure and Quality Assurance      Expedited Relative Licensure Monthly    master_emu_expedited_details.csv,
                                                                                                and Quality      Review                               Review                                  a_quarter_merged_details.csv,
                                     All foster homes and facilities with children placed who                                                                                                 expedited_summary.csv
                                                                                                Assurance Unit
                                     are in the custody of MDCPS shall be timely licensed
                                     and subject to the licensure process approved by
                                     Public Catalyst on December 31,2016.
                             3.2a    No child shall remain in a foster home or facility      Licensure Unit      Licensure and Qaulity Assurance      Expedited Relative Licensure Monthly    The data relative to this provision is identifed
                                     determined to be unable to meet MDCPS licensing         and Quality         Review                               Review                                  through the Licensure tracking process
                                     standards, absent an order by a state court with        Assurance Unit
                                     jurisdiction over child custody directing the placement
                                     of the child into a specific unlicensed placement.
                                     Defendants shall not be held accountable for a state
                                     court's order as long as MDCPS documents that it
                                     presented information to the court that the foster
                                     home has not met licensing standards,the reasons
                                     why the foster home has not and cannot meet
                                     licensing standards, and that a licensed foster home or
                                     facility is available, or one time only, an appropriate
                                     expedited relative placement.
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                             3.2b                                                                      Licensure Unit
                                     foster home or facility is unable to meet MDCPS                                                                         Review                                 through the Licensure tracking process
                                                                                                       and Quality      Review
                                      licensing standards due to a safety issue, Defendants
                                                                                                       Assurance Unit
                                     shall take all reasonable efforts to immediately ensure
                                     the child's safety and to remove the child, including, if
                                     required by the court, seeking an emergency court
                                     order
                             3.2c                                                                   Licensure Unit      Licensure and Quality Assurance      Expedited Relative Licensure Monthly   The data relative to this provision is identifed
                                                                                                                                                             Review                                 through the Licensure tracking process
                                     Non-safety Issues: If MDCPS determines an unlicensed and Quality                   Review
                                     foster home to be unable to meet MDCPS licensing           Assurance Unit
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                                     standards due to a non-safety issue, Defendants shall,
                                     within 30 calendar days ofthat determination, either
                                     cure the licensing deficiency if feasible, or move the
                                     child to a licensed foster home or facility, or to an
                                     appropriate expedited relative placement,one time
                                     only.
                             4.2                                                                Quality                 Foster Care Review                   Foster Care Review          Monthly    msa_4.2_placements_famllybased_pitcsv,
                                                                                                Assurance Unit                                               Supplement                             msa_4.2_placements_familybased summary.csv
                                     Children with special needs shall be matched with
                                     placement resources that can meet their therapeutic
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                                     and medical needs. MDCPS shall ensure that each
                                     county office has access to resource workers within its
                                     region who have the ability to ascertain the placement
                                     resources available and their suitability for each
                                     particular child needing placement.
                             4.3                                                                Quality                 Foster Care Review                   Foster Care Review          Monthly    msa 4.3_placements_leastrestrictive_pit_details.
                                     Each foster child shall be placed in the least restrictive Assurance Unit                                               Supplement                             csv,
                                     setting that meets his/her individual needs as                                                                                                                 msa_4.3_placements_leastrestrictive_summary.c
                                     determined by a review of all intake,screening,                                                                                                                sv
                                     assessment, and prior placement information
                                     regarding the child available at the time of placement.
                                     In order of consideration,this means: placement with
                                     relatives;foster home care within reasonable
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                                     proximity to the child's home community; resource
                                     home care outside of the child's home community;
                                     group home care; or institutional care:
                             4.7                                                                Quality                 Foster Care Review                   Foster Care Review          Monthly    msa_4.7_placement_disruptions_details.csv
                                     Defendants shall take all reasonable steps to avoid the                                                                 Supplement
                                                                                                Assurance Unit
                                     disruption of an appropriate placement and ensure
                                     placement stability for children. If there is a
                                     documented indication that a placement may disrupt,
                                     the caseworker shall immediately take steps to
                                     determine the following:
                             4.7.5                                                              Quality                 Foster Care Review                   Foster Care Review          Monthly    msa_4.7_placement_disruptions_details.csv
                                     Defendants shall take all reasonable steps to avoid the                                                                 Supplement
                                                                                                Assurance Unit
                                     disruption of an appropriate placement and ensure
                                     placement stability for children. If there is a
                                     documented indication that a placement may disrupt,
                                     the caseworker shall immediately take steps to
                                     determine the following:The cause ofthe potential
                                     disruption;
                                                                                                                                                                                                                                                       MDCPS
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                             4.7.b                                                             Quality            Foster Care Review                  Foster Care Review   Month y   msa_4.7_placement_disruptions_details.csv
                                       Defendants shall take all reasonable steps to avoid the
                                                                                               Assurance Unit                                         Supplement
                                       disruption of an appropriate placement and ensure
                                       placement stability for children. If there is a
                                       documented indication that a placement may disrupt,
                                      the caseworker shall immediately take steps to
                                       determine the following: Whether the placement is
                                      appropriate for the child;
                             4.7.c                                                             Quality            Foster Care Review                  Foster Care Review   Monthly   msa 4.7_placement_disruptions_details.csv
                                      Defendants shall take all reasonable steps to avoid the Assurance Unit                                          Supplement
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                                      disruption of an appropriate placement and ensure
                                      placement stability for children. If there is a
                                      documented indication that a placement may disrupt,
                                      the caseworker shall immediately take steps to
                                      determine the following: Whether additional services
                                      are necessary to support the placement;
                             4.7.c1                                                            Quality            Foster Care Review                  Foster Care Review   Monthly   msa_4.7_placement_disruptions_details.csv
                                      Defendants shall take all reasonable steps to avoid the
                                                                                               Assurance Unit                                         Supplement
                                      disruption of an appropriate placement and ensure
                                      placement stability for children. If there is a
                                      documented indication that a placement may disrupt,
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                                      the caseworker shall immediately take steps to
                                      determine the following: Whether the child needs
                                      another placement;
                             4.7.e                                                             Quality            Foster Care Review                  Foster Care Review   Monthly   msa_4.7_placement_disruptions_details.csv
                                      Defendants shall take all reasonable steps to avoid the
                                                                                               Assurance Unit                                         Supplement
                                      disruption of an appropriate placement and ensure
                                      placement stability for children. If there is a
                                      documented indication that a placement may disrupt,
                                      the caseworker shall immediately take steps to
                                      determine the following: If another placement is
                                      necessary, what that placement should be.
                             4.10     No roster chiici snail be moves From his/her existing    Quality            Foster Care Review                  Foster Care Review   Monthly   msa_4.7_placement_disruptions_details.csv
                                      placement to another placement unless MDCPS              Assurance Unit                                         Supplement
                                      specifically documents in the child's case record
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                                      justifications for that move and the move is approved
                                      by an MDCPS supervisor.                                                                                     _
                             5.1a                                                            Quality              Foster Care Review                  Foster Care Review   Monthly   msa_5.1.a_Monthly Child_Contacts_Details.csv,
                                      MDCPS shall meet with the child in person at least     Assurance Unit                                           Supplement                     msa_5.1.a_Monthly_Child_Contacts_StateSum
                                      twice monthly to assess the child's safety and well-                                                                                           mary.csv
                                      being,service delivery, and achievement of
                                      permanency and other service goals. At least one visit
                                      per month shall take place in the child's placement.
                             Sic                                                               Quality            Foster Care Review                  Foster Care Review   Monthly
                                      MDCPS shall meet, at least monthly, with the child's       Assurance Unit                                       Supplement
                                      parent(s) with whom the child is to be reunified, if the
                                      child has a permanency goal of reunification, to discuss                                                                                       msa 6.3.a.2 custody parent contacts_expanded
                                      progress on the family service plan and the child's well-                                                                                      _details.csv,
                                      being, unless the child's parent(s) reside out-of-state or                                                                                     msa_6.3.a.2_custody_parent_contacts_state_su
                                      are incarcerated.                                                                                                                              mmary.csv
                                                                                                                  Foster Care Review                  Foster Care Review   Monthly   msa_5.1.d_Contacts_With_Foster_Parents_Detail
                                      MDCPS shall visit, at least monthly, with foster parents                                                        Supplement                     s.csv,
                                      who have one or more foster children residing in their                                                                                         msa_5.1.d_Contacts_With_Foster_Parents_State
                                      home to assess the child's safety and well-being in the                                                                                        _Summary.csv
                                      placement and ensure appropriate services are            Quality
                             5.1d     provided.                                                Assurance Unit
                                                                                                                                                           3 of 10                                                                   MDCPS
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                                                                                                      ,...
                                                                                                                   Foster Care Review               Foster Care Review        Monthly   The data relative to this provision is identifed
                                       MOCPS shall arrange contactfor the child with his/her                                                        Supplement                          through the foster care review process
                                       parents and with any siblings not in the same
                                       placement within 72 hours of foster care placement
                                       unless there are documented reasons why contact
                                       should not occur. If a visit cannot be arranged within
                                       72 hours, a telephone call to parents,siblings, or
                                       extended family members shall be provided to the       Quality
                             5.2a      child.                                                 Assurance Unit
                                                                                                                   Foster Care Review               Foster Care Review        Monthly   The data relative to this provision is identifed
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                                                                                                                                                    Supplement                          through the foster care review process
                                       For children entering foster care, a visitation plan for
                                       the child and his/her family shall be developed as part
                                       ofthe Family Service Plan. The visitation plan shall be
                                       developed and regularly updated in collaboration with Quality
                             5.2b      parents,foster parents, and the child.                   Assurance Unit
                                                                                                                   Foster Care Review               Foster Care Review        Monthly   The data relative to this provision is identifed
                                                                                                                                                    Supplement                          through the foster care review process
                                       If parental visitation is appropriate,this visitation plan
                                       shall include a minimum oftwo visits per month with
                                       the parents, unless the court order in the child's case
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                                       limits such visits or unless it is documented that a       Quality
                             5.2.b.1   parent failed to make himself or herself available.        Assurance Unit
                                                                                                                                                                                        The data relative to this provision is identifed
                                       The child's visitation plan, regardless of permanency                                                                                            through the foster care review process
                                       goal, shall include at least monthly visits with any     Quality                                             Foster Care Review
                             5.2.b.2   siblings not in the same placement.                      Assurance Unit     Foster Care Review               Supplement                Monthly
                                                                                                                                                                                        The data relative to this provision is identifed
                                       As long as they are separated, all reasonable efforts                                                                                            through the foster care review process
                                       shall be made to facilitate twice monthly in-person
                                       visits for children six(6) years of age and younger with
                                       their siblings in placement. All other children in
                                       placements separated from their siblings in placement,
                                       shall have at least monthly visits among separated
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                                       siblings. Siblings shall have interim contact by
                                       alternative means such as email,texts, telephone calls, Quality                                              Foster Care Review
                             5.2.b.3   Facetime, and/or Skype.                                  Assurance Unit     Foster Care Review               Supplement                Monthly
                                                                                                                                                                                        The data relative to this provision is identifed
                                                                                                Quality                                             Foster Care Review                  through the foster care review process
                             5.2.b.4   Exceptions to the sibling visitation requirement are:    Assurance Unit     Foster Care Review               Supplement                Monthly
                                                                                                                                                                                        The data relative to this provision is identifed
                             5.2.b.4. The child or sibling is placed out of state pursuant to   Quality                                             Foster Care Review                  through the foster care review process
                             a        ICPC;                                                     Assurance Unit     Foster Care Review               Supplement                Monthly
                                                                                                                                                                                        The data relative to this provision is identifed
                                      The visit may by harmful t one or more ofthe siblings
                                      as determined by the court or documented in the                                                                                                   through the foster care review process
                             5.2.b.4. record why the visit would harmful to one or more of      Quality                                             Foster Care Review
                             b.       the children;                                             Assurance Unit     Foster Care Review               Supplement               Monthly
                                                                                                                                                                                        The data relative to this provision is identifed
                                       One of the siblings is above the age of 14 and refused
                                                                                                                                                                                        through the foster care review process
                                       such visits and the reason for such refusal is           Quality                                             Foster Care Review
                             5.2.b.4.c documented in the case record.                           Assurance Unit     Foster Care Review               Supplement                Monthly
                                                                                                                                                                                                                                           MDCPS
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                                       Within 45 days of taking a child into custody, MDCPS
                                       shall complete a comprehensive Family Service Plan
                                       which shall be developed in consultation with (1)the
                                       child and the MDCPS caseworker;(2)the child's
                                       parents and the MDCPS
                                       caseworker; and (3)the foster care provider and the
                                       MDCPS caseworker.The Family Service Plan shall
                                       address the strengths, needs and services required for
                                                                                                                                                                                      msa_6.1.a_initial_fsp_msa_details.csv,
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                                       both the child and their parent(s); shall be reviewed
                                       and approved by the supervisor and shall be            Quality                                            Foster Care Review                   msa_6.1.a_initial_fsp_currentq_details.csv,
                             6.1.a.    maintained in the child's case file.                   Assurance Unit       Foster Care Review            Supplement                 Monthly   msa_6.1.a_initial fsp_state_summary.csv
                                       In those cases in which the whereabouts of one or
                                       both parents is unknown, MDCPS shall, within 30 days
                                       institute a diligent search for the parent(s), which shall Quality                                        Foster Care Review                   The data relative to this provision is identifed
                             6.1.c.    be documented in the child's case record.                  Assurance Unit   Foster Care Review            Supplement                 Monthly   through the foster care review process
                                       Within 45 calendar days of the child's initial placement,                                                                                      msa_6.1.d_initial_permplan_msa_details.csv,
                                       MDCPS shall complete a permanency plan that                                                                                                    msa_6.1.d_initial_permplan_currentq_details.csv
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                                       specifies the child's permanency goal, a timeframe for                                                                                         ,
                                       achieving permanency,and activities that support          Quality                                         Foster Care Review                   msa_6.1.d_initial_permplan_msa_state_summar
                             6.1.d.    permanency.                                               Assurance Unit    Foster Care Review            Supplement                 Monthly   y.csv
                                       For children with the goal of reunification, MDCPS shall
                                       being, within the first six months of the child's entry
                                       into care,to engage in concurrent permenency             Quality                                          Foster Care Review                   The data relative to this provision is identifed
                             6.2.a     planning.                                                Assurance Unit     Foster Care Review            Supplement                 Monthly   through the foster care review process
                                       When the child's permanency goal is reunification,
                                       MDCPS shall identify in the Family Service Plan and
                                       make available, directly or through referral,
                                       those services MDCPS deems necessary to address the
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                                       behaviors or conditions resulting in the child's
                                       placement in foster care and to help the parents
                                       develop strategies to facilitate permanency for the
                                       child. Caseworkers will monitor the provision of       Quality                                           Foster Care Review                    msa_6.3.a.1_reuni_permplan_details.csv,
                             6.3.a.1   services through visits and updating of service plans. Assurance Unit       Foster Care Review           Supplement                  Monthly   msa_6.3.a.1_reuni_concurrentplan_details.csv
                                       For a children with a permenency goal of reunification,
                                       the child's MDCPS caseworker shall meet with the
                                       child's parent(s) with whom the child is to be reunified
                                       at least twice monthly to assess service delivery and                                                                                          msa 6.3.a.2 custody parent contacts_expanded
                                       achievement of service goals, to keep the family                                                                                               _details.csv,
                                       informed and involved in decisions about the child, and Quality                                          Foster Care Review                    msa_6.3.a.2_custody_parent_contacts_state_su
                             6.3.a.2   to remain current about the family's circumstances.      Assurance Unit     Foster Care Review           Supplement                  Monthly   m mary.csv
                                       For children with a permenency goal of reunification,
                                       the case record shall doucment opportunties provided Quality                                              Foster Care Review                   msa_6.3.a.1_reuni_permplan_details.csv,
                             6.3.a.3   to parents in support of reunification.               Assurance Unit        Foster Care Review            Supplement                 Monthly   msa_6.3.a.l_reuni_concurrentplan_details.csv
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                                       When a recommendation to reunify a child with
                                       his/her family has been made, MDCPS shall develop an
                                       aftercare plan with the family that identifies the
                                       services necessary to ensure that the conditions
                                       leading to the child's placement in foster care have
                                       been addressed, and that the child's safety and stability                                                                                         msa2_6.3.a.4_custody_outcomes_reunification_c
                                       will be assured. MDCPS shall take reasonable steps to                                                                                             losing_summary msa_details.csv,
                                       provide or facilitate access to services necessary to     Quality                                        Foster Care Review                       msa2_6.3.a.4_custody_outcomes_reunification_c
                                                                                                                  Foster Care Review            Supplement                   Monthly     losing_summary_currentq_details.csv
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                             6.3.a.4   support the child during the trial home visit.            Assurance Unit
                                       Children in custody with the primary permanency goal                                                                                               msa_6.3.b.1_adoption_assignments_child_details
                                       of adoption shall have an assigned adoption specialist                                                                                            .csv,
                                       and an adoption plan that identifies the child specific                                                                                            msa_6.3.b.1_adoption_assignments_period_deta
                                       activities that MDCPS will undertake to achieve                                                                                                   ils.csv,
                                       adoption and the timeframes in which the activies will Permanency                                        Permanency Review                         msa_6.3.b.1_adoption_assignments_state_summ
                             6.3.b.1   be undertaken.                                          Support Unit       Permanency Review             Footprint tracking           Monthly     ary.csv
                                       A termination of parental rights (TPR) referral shall be
                                       made on behalf of a child before the child has spent
                                       more than 17 ofthe last 22 months in foster care
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                                       unless an available exception pursuant to the federal
                                       Adoption and Safe Families Act ("ASFA") has been
                                       documented by MDCPS in the child's case record.
                                       Subsequent to the initial ASFA exception, MDCPS may
                                       continue the exception for only one additional six-
                                       month period unless continued invocation ofthe
                                       exception is reviewed, approved and documented semi-
                                       annually by the RD assigned to the county of             Permanency                                                                               TPR Timeframes_Details.csv,TPR Referrals
                             6.3.b.2   responsibility for the child.                            Support Unit      Permanency Review             ASFA Exception Tracking Tool Quarterly   10.19.2018
                                       MDCPS shall provide to the Monitor a report of all TPR
                                       referrals made during the monitoring period, the date
                                       those TPR referrals were made, and the date the TPR Permanency                                           Permanency Review                        TPR_Timeframes_Details.csv,TPR Referrals
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                             6.3.b.3   petition was filed with the court.                     Support Unit        Permanency Review             Footprint tracking          Quarterly    10.19.2018
                                       The permanency goals of durable legal custody and
                                       guardianship may be assigned when there are
                                       documented efforts in the child's case record to move
                                       the child to adoption and documentation of a
                                       reasonable basis why it is in the child's best interests Quality                                         Foster Care Review                       msa_6.3.d.1_durablelegal_permplan_details.csv,
                             6.3.d.1   not to be considered for adoption.                       Assurance Unit    Foster Care Review            Supplement                   Monthly     msa_6.3.d.1_durablelegal_concurrent_details.csv
                                       and guardianship are assigned to a child under the age
                                       of 14 years old or
                                       living with a non-relative, MDCPS shall provide to the
                                       Monitor at the end of each monitoring period,
                                       information from the child's case record documenting
                                       efforts to move the child to adoption and
                                       documentation of a reasonable basis why it is in the
                                       child's best interests not to be considered for        Quality                                           Foster Care Review                       msa_6.3.d.1_durablelegal_permplan_details.csv,
                             6.3.d.2   adoption.                                              Assurance Unit      Foster Care Review            Supplement                  Monthly      msa_6.3.d.1_durablelegal_concurrent_details.csv
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                                       If MDCPS concludes, after considering reunification
                                       adoption, durable legal custody, and permanent
                                       placement with a relative, that these permanency
                                       plans are inappropriate or unavailable for a child,
                                       MDCPS may assign a permanency goal of APPLA for the
                                       child. In such circumstances,(1)the child must be at
                                       least 16 years old and (2) MDCPS must document a
                                       compelling reason why this permanency goal is in the Quality                                                    Foster Care Review                     msa_6.3.e_appla_permplanperiod_details.csv,
                             6.3.e     best interest of the child.                          Assurance Unit      Foster Care Review                     Supplement                  Monthly    msa_6.3.e_appla_concurrent_period_details.csv
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                                       A child's permanency plan shall be reviewed in a court
                                       or administrative case
                                       review at least every six months. Foster care reviews
                                       shall satisfy this administrative case review
                                       requirement. MDCPS will take all reasonable steps,                                                                                                     msa_6.4.2 fostercarereviews_dueperiod_detail
                                       including written notice,to ensure the participation of                                                                                                s.csv,
                                       the child, parents, caregivers, and relevant            Quality                                                 Foster Care Review                     msa_6.4.a_Custody_Case_reviews_State_Summa
                             6.4.a     professionals in court or administrative reviews.       Assurance Unit   Foster Care Review                     Supplement                  Monthly    ry.csv
                                       MDCPS will take all reasonable steps to ensure that a
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                                       court review, which may be
                                       called a review, dispositional, or permanency hearing,
                                       is held for each child in foster                                                                                                                       msa_6.4.b_custody_court_reviews_period_detail
                                       care custody within 12 months of initial placement,    Quality                                                  Foster Care Review                     s.csv,
                             6.4.b     and annually thereafter.                               Assurance Unit    Foster Care Review                     Supplement                  Monthly    Custody_Court_Reviews_State_Summary.csv
                                       MDCPS shall provide each youth transitioning to
                                       independence with at least six (6) months'
                                       advance notice of the cessation of any health,financial,
                                       or other benefits that will occur at the time of         Youth Transition                                                                              msa_7.1_youth_transition_indep_period_details.
                             7.1       transition.                                              Support Services Youth Transition Support Review       Youth Transition Smarthsheet Monthly   csv
                                       Each foster youth age 14 years and older, regardless of
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                                       his/her permanency plan, shall be provided with an
                                       opportunity to participate in the creation of an
                                       appropriate Independent Living service plan for a       Youth Transition
                             7.2       successful transition to adulthood.                     Support Services Youth Transition Support Review        Youth Transition Smarthsheet Monthly   msa_7.2_youth_age14_period_end_details.csv
                                       Each foster youth age 14 years and older shall have
                                       access to the range of supportive
                                       services necessary to support their preparation for and
                                       successful transition to adulthood,including
                                       Independent Living services eligible for federal
                                       reimbursement under the Chaffee program which in
                                       part promote employment or remove barriers to
                                       employment and MDCPS shall maintain sufficient
                                       resources to deliver Independent Living services to all Youth Transition
                             7.3       youth described herein.                                 Support Services Youth Transition Support Review        Youth Transition Smarthsheet Monthly   msa_7.2 youth_age14period_end_details.csv
                                       MDCPS shall implement a policy and a process by
                                       which youth emancipating from the foster care system
                                       at age 18 or beyond receive a start-up stipend of at
                                       least $1,000.00 at the time of emancipation, or as soon Youth Transition
                             7.5       as practicable thereafter.                              Support Services Youth Transition Support Review        Youth Transition Smarthsheet Monthly   msa_7.5 youth_emancipated_stipend_details.csv
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                                     MDCPS shall implement a policy and a process by
                                     which youth emancipating from the foster care system
                                     at age 18 or beyond have access to a housing resource
                                     specialist responsible for assisting the youth obtain an Youth Transition
                             7.6     adequate living arrangement.                             Support Services Youth Transition Support Review           Youth Transition Smarthsheet Monthly   msa_7.6 youth_etv_stipend_details.csv
                                     IVI Ul..1rb sndti continue so implement policies dilu
                                     processes which ensure that youth
                                     emancipating from the foster care system at age 18 or
                                     beyond receive services and support under the State
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                                     Educational Training and Vocational(ETV) Program for Youth Transition
                             7.7     which they are eligible.                                 Support Services Youth Transition Support Review           Youth Transition Smarthsheet Monthly   msa_7.6_youthetv stipend_details.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record:
                                     Educational records,such as a high school diploma or           •
                                     general equivalency diploma, and a list ofschools       Youth Transition                                                                                   msa_7.8_emancipation_population.csv,
                             7.8.a   attended, when age-appropriate.                         Support Services Youth Transition Support Review            Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv                     •
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                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record: Youth Transition                                                                                   msa_7.8_emancipation_population.csv,
                             7.8.b   A social security or social insurance number;           Support Services Youth Transition Support Review            Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record:       Youth Transition                                                                             msa_7.8_emancipationpopulation.csv,
                             7.8.c   A resume, when work experience can be described;              Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record:
                                     A driver's license, when the ability to drive is a goal; if
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                                     not a driver's license,then a state-issued, photo             Youth Transition                                                                             msa_7.8_emancipation_population.csv,
                             7.8.d   identification;                                               Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_applapopulation.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record:
                                     An original or certified copy of the youth's birth      Youth Transition                                                                                   msa_7.8_emancipation_population.csv,
                             7.8.e   certificate;                                            Support Services Youth Transition Support Review            Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented In the child's case record:       Youth Transition                                                                             msa_7.8_emancipation_population.csv,
                             7.8.f   Previous placement information;                               Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record:
                                     Documentation of immigration, citizenship, or                 Youth Transition                                                                             msa_7.8_emancipation_population.csv,
                             7.8.g   naturalization, when applicable;                              Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                     MDCPS shall assist youth in obtaining or compiling the
                                     following documents and such
                                     efforts shall be documented in the child's case record: Youth Transition                                                                                   msa_7.8_emancipation_population.csv,
                             7.8.h   Documentation of tribal eligibility or membership;      Support Services Youth Transition Support Review            Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
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                                      MDCPS shall assist youth in obtaining or compiling the
                                      following documents and such
                                      efforts shall be documented in the child's case record: Youth Transition                                                                               msa_7.8_emancipation_population.csv,
                             7.8.i.   Death certificates when parents are deceased;           Support Services Youth Transition Support Review        Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                      MDCPS shall assist youth in obtaining or compiling the
                                      following documents and such
                                      efforts shall be documented in the child's case record:
                                      A life book or a compilation of personal history and      Youth Transition                                                                             msa_7.8_emancipation_population.csv,
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                             7.8.j    photographs, as appropriate;                              Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                      MDCPS shall assist youth in obtaining or compiling the
                                      following documents and such
                                      efforts shall be documented in the child's case record:
                                      A list of known relatives, with relationships, addresses,
                                      telephone numbers, and permissions for contacting         Youth Transition                                                                             msa_7.8_emancipation_population.csv,
                             7.8.k    involved parties.                                         Support Services Youth Transition Support Review      Youth Transition Smarthsheet Monthly   msa_7.8_appla_population.csv
                                      Children entering foster care shall receive an initial   Therapuetic
                                      medical screening within 72 hours of entering foster     Services/Nursing                                                                              msa_8.1.a_lnitial_Medicals_Details.csv,
                             8.1.a    care.                                                    Unit             Nursing Unit Review                   Child Well Being            Monthly    Initial_Medicals_State_Summary.csv
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                                      Children entering foster care shall receive an EPSDT or
                                      other comprehensive medical exam within 30 days of
                                      entering foster care. If a child has received an EPSDT or
                                      other comprehensive medical exam within 72 hours of Therapuetic
                                      entering foster care, it will count for both the          Services/Nursing                                                                             msa_8.1.b_ComprehensiveMedicalsDetails.csv,
                             8.1.b    screening and comprehensive medical examination.          Unit             Nursing Unit Review                  Child Well Being            Monthly    Comprehensive_Medicals_State_Summary.csv
                                      Following an initial EPSDT or other comprehensive                                                                                                      msa_8.1.c_epsdt_msa_details.csv,
                                      medical examination, children shall receive periodic     Therapuetic                                                                                   msa_8.1.c_epsdt_msa_summary.csv,
                                      and on-going medical examinations according to the       Services/Nursing                                                                              msa_8.1.cd_timelymedical_yearly_details.csv,
                             8.1.c    periodicity schedule set forth by the EPSDT program.     Unit             Nursing Unit Review                   Child Well Being            Monthly    msa_8.1.cd_timelymedical_yearly_summary.csv
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                                      Practitioner recommended follow-up treatment will be Therapuetic
                                      provided to children throughout the time they are in Services/Nursing                                                                                  msa_8.1.cd_timelymedical_yearly_details.csv,
                             8.1.d    foster care.                                         Unit             Nursing Unit Review                       Child Well Being            Monthly    msa_8.1.cd_timelymedical_yearly summary.csv
                                      Children in foster care shall receive a dental
                                      examination within 90 calendar days offoster care
                                      placement unless the child has had an examination
                                      within six months of placement, and every six months
                                      thereafter if they are age four or older. Foster children
                                      who reach the age offour while in foster care shall
                                      receive a dental examination within 90 calendar days
                                      of his/her fourth birthday, and every six months           Therapuetic
                                      thereafter. Every foster child shall receive all medically Services/Nursing                                                                            Dental_Exams_details.csv,
                             8.1.e    necessary dental services.                                 Unit             Nursing Unit Review                 Child Well Being            Monthly    Dental_Exams_summary.csv
                                      Within 15 days of placement, MDCPS shall provide the
                                      foster parents or facility staff with the completed
                                      foster child information form or other electronic
                                      record containing available medical, dental,
                                      educational and psychological information            Quality                                                    Foster Care Review                     The data relative to this provision is identifed
                             8.1.f    about the child.                                     Assurance Unit       Foster Care Review                    Supplement                  Monthly    through the foster care review process.
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                                     By Ju y 1,2018 85% of children shall have their
                                     Medicaid information provided to foster parents or      Quality                                               Foster Care Review                     The data relative to this provision is identifed
                             8.1.g   facility staff at the time of placement.                Assurance Unit   Foster Care Review                   Supplement                   Monthly   through the foster care review process.
                                     MDCPS shall review the educational record of each
                                     child who enters custody for the purpose of identifying
                                     the child's general and, if applicable, special
                                     educational needs and shall document the child's
                                     educational needs within 30 calendar days of his/her Youth Transition Educational Regional Review                                                    The data relative to this provision is identifed
                             8.2.a   entry into foster care.                                 Support Services Conference Calls                     Education Records Review     Weekly    through the educational regional review process.
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                                     MDCPS shall take reasonable steps to ensure that
                                     school-age foster children are registered
                                     for and attending accredited schools within seven (7)
                                     calendar days of initial placement or any placement
                                     change, including while placed in shelters or other     Youth Transition Educatinal Regional Review Conference
                             8.2.b   temporary placements.                                   Support Services Calls                                 Education Records Review    Weekly    msa_8.2.6_8.2.c_schoolage_Children.csv
                                     MDCPS shall make all reasonable efforts to ensure the
                                     continuity of a child's educational
                                     experience by keeping the child in a familiar or current
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                                     school and neighborhood, when this is in the child's
                                     best interests and feasible, and by limiting the number
                                     of school changes the                                    Youth Transition Educatinal Regional Review Conference
                             8.2.c   child experiences.                                       Support Services Calls                                 Education Records Review   Weekly    msa_8.2c_children_3to5.csv
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